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                     EXHIBIT 29
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                                                                 EXECUTION VERSION

                             CONFIDENTIALITY AGREEMENT

       WHEREAS, by letter dated May 6, 2020, Dennis Palkon (the “Stockholder”) made

a demand pursuant to 8 Del. C. § 220 (the “Demand”) to inspect certain documents of World

Wrestling Entertainment, Inc. (the “Company”);

       WHEREAS, the Stockholder appointed Robbins LLP, and its partners, associates,

and employees (“Stockholder’s Counsel”), as its attorney for purposes of the Demand; and

       WHEREAS, Company is represented in connection with the Demand by the law

Paul, Weiss, Rifkind, Wharton & Garrison LLP; and

       WHEREAS, the documents sought by the Stockholder include non-public,

confidential, proprietary or commercially-sensitive information of the Company;

       IT IS AGREED by and between the undersigned counsel for the parties, as of the

24th day of September 2020, as follows:
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       13.     In the event that Stockholder or Stockholder’s Counsel (on behalf of

Stockholder) uses, or refers to, any information or documents produced by the Company in

response to the Demand in any complaint, petition, or other court filing relating to the subject

matter referenced in the Demand, then the documents and information that (a) the Company

agrees to produce to Stockholder within the scope of the categories of documents and

information that the Company has agreed to produce, and/or (b) may be ordered to produce to

Stockholder in any Section 220 proceeding relating to the Demand shall be deemed incorporated

by reference into the filing (the “Incorporation Condition”). Before the Incorporation Condition

applies to the documents and information the Company agrees to produce, the Company’s

counsel shall provide the certification required by Paragraph 14; provided, however, that if

Stockholder or Stockholder’s Counsel files any complaint, petition, or other court filing relating

to the subject matter referenced in the Demand, other than (x) a complaint pursuant to Section

220 or (y) a motion to intervene in a derivative action relating to the subject matter of the

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Demand filed by a different purported stockholder of the Company in a jurisdiction outside of

the State of Delaware for the limited purpose of staying such action, before (i) the Company has

completed the production of all documents and information it agrees to produce and/or (ii) the

time period for providing the certification required by Paragraph 14 has expired, then the

Incorporation Condition shall automatically apply to the documents and information that the

Company has produced pursuant to its agreement at the time of such filing. This Paragraph 13

does not change the pleading standard applicable to any motion to dismiss filed in any plenary

action relating to the subject matter of the Demand.

       14.     Within five (5) business days of the final completion of the production of non-

privileged documents that the Company agrees to produce voluntarily in response to the

Demand, the Company’s counsel will provide written confirmation that, to the best of its

knowledge and following a reasonable investigation, the Company’s production is complete

with respect to every category of documents that the Company has agreed to produce.

Notwithstanding anything in Paragraph 13 to the contrary, documents produced by the

Company in response to the Demand or any amended or supplemental demand relating to the

same subject matter as the Demand after the Stockholder files a plenary complaint relating to

the same subject matter as the Demand will not be subject to incorporation by reference for

purposes of any motion to dismiss that plenary complaint.




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AGREED AND ACCEPTED:

DENNIS PALKON                            WORLD WRESTLING ENTERTAINMENT,
                                         INC.



By:                                      By:
Gregory E. Del Gaizo, Esquire            Justin Anderson
Robbins LLP                              Paul, Weiss, Rifkind, Wharton & Garrison LLP
5040 Shoreham Place                      2001 K Street, NW
San Diego, CA 92122                      Washington, DC 20006-1047

Counsel for Dennis Palkon                Counsel for World Wrestling Entertainment, Inc.




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